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FoR THE DisTRlcT oF NEw MExico JAN 2 9 2002
DELPHi REsEARcH coRPoRATioN, wi :
Plaintiff, CLERK
v. civ. No. 00-0487 RLP/vvvvo

JACOBS ENG|NEER|NG GROUP, |NC. and
JACOBS APPL|ED TECHNOLOGY, lNC.,

Defendants.

MEMORANDUN| OP|N|ON AND ORDER

TH|S MATTER comes before the court on Defendants‘ lVlotion to Dismiss or,
A|ternative|y, For a |V|ore Definite Statement, brought pursuant to Fed.R.Civ.P. 12(b)(6) and
12(e). For the reasons set forth below, Defendants’ lVlotion is denied.

On October19, 2001 the parties filed a Stipulated lVlotion [Doc. 51], which dismissed
some claims asserted in the First Amended Comp|aint [Doc. 40] and sought leave to file
a Second Amended Comp|aint. The Second Amended Comp|aint, attached to that
Stipulated Motion is the subject of Defendants' current motion.

Federa| Ru|e of Civi| Procedure 12(e) provides in pertinent part that “[i]f a pleading
to which a responsive pleading is permitted is so vague or ambiguous that a party cannot
reasonably be required to frame a responsive pleading, the party may move for a more
definite statement before interposing a responsive pleading.” lVlotions filed pursuant to
Ru|e 12(e) are disfavored by courts. Classr`c Communications, lnc. v. Rural Tei. Serv. Co,
lnc., 956 F. Supp. 910, 923 (D. Kan. 1997). “ln a contract dispute, a more definite

statement is required when defendants can only guess as to what conduct and contract(s)

 

[an] allegation refers." 555 M Manufacturing, lnc. v, Calvin Klein, Inc., 13 F.Supp.2d 719,
724 (N.D. l|l. 1998) (internal quotation marks and citation omitted); see also Pilisbury v.
Biumenthal, 272 P.2d 326, 328 (N.|V|. 1954).

Nowhere in its briefs do Defendants allege they are unable to respond to the
allegations made by Plaintiff. Thusl their reliance on Seous v. E.F. Hutton 8. Co., 720 F.
Supp. 671 (N.D. l||. 1989) is misplaced. ln that case, the allegations did not indicate which
defendants had committed what conduct: they were left to guess about their actions. Id.
at 686. ln this case, Defendants are in reality arguing that P|aintiff’s allegations are not
specific enough Rule 12(e) is “designed to strike at unintelligibility rather than want of
detai|.” Montagriffv. Adams CountySchoolDistricf14, 128 F.R.D. 117-118 (D. Co|o. 1989)
(internal quotation marks and citation omitted).

Paragraph 10 of the Second Amended Comp|aint references the two subcontracts;
paragraphs 11-18 list alleged requirements and factual allegations of What transpired;
paragraph 19 alleges certain damages proximately caused by the alleged breach;
paragraphs 20-33 lists events which contain allegations of claimed damages flowing from
the Defendants' alleged failure to perform. Count ll entitled “Breach of Contract,”
paragraphs 34-44 sufficiently alleges the existence of one or more contracts, breach
thereof, and damages proximately caused by the alleged breach,

lt may be there is a dispute about whether one or two contracts Were breached and
the damages flowing therefrom, but those matters are more properly the subject of a
summary judgment motion or trial. Further, the detail requested by Defendants, i.e., the
conduct giving rise to an alleged breach, the amount ofdamages caused thereby, and how

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such damages are calculated are more properly the subject of discovery, not a Ru|e 12(e)
motion. Franklin v. Shelton, 250 F.2d 92, 95 (10th Cir. 1957), cert denied, 355 U.S. 959
(1958) (where plaintist allegations sufficiently allow defendant to file a responsive answerl
any other information should be had from discovery and not pursuant to Fed.R.Civ.P.
12(e)).

lT lS THEREFORE ORDERED, ADJUDGED AND DECREED that Defendants1

|Vlotion to Dismiss or, Alternative|y, For a lV|ore Deflnite Statement [Doc. 66] is denied.

|T |S SO ORDERED.

   

Richard L. Pugsi
United States Magistrate Judge
(sitting by designation)

FOR THE Pl_AlNT|FF: Pete Domenici, Jr., Esq.

FOR THE DEFENDANTS; Steven G.Nl. Stein, Esq.
Victor R. Ortega, Esq.

